The above case was set for hearing at Thibodaux, Louisiana, on November 6, 1947; and counsel for plaintiff and appellant and defendant and appellee were present. It was suggested by the Court that since the cause appeared to involve an amount exceeding $2,000, that it might be transferred to the Supreme Court; and counsel, agreeing before the Court, were given time to prepare motions to that effect.
It now appearing that counsel for all parties litigant in this proceeding have joined in a written motion for the transfer of the appeal to the Supreme Court; the averment being made therein that the object in dispute exceeds in value $2,000; it is concluded that the appeal is one for consideration of the highest court of this State, and the motion will be granted. Succession of Wengert, 178 La. 1027,152 So. 747; Snyder Wagon Company v. Campbell Ice Cream Company, 173 La. 467, 137 So. 855; General Motors Truck Company et al. v. Caddo Transfer  Warehouse Company, Inc., et al., La. App., 172 So. 178.
Accordingly, and pursuant to the provisions of Act No. 19 of 1912, it is ordered that the appeal in this case be transferred to the Louisiana Supreme Court; that a period of sixty days is granted for the perfecting of the transfer, dating from the finality of this decree; and that on failure *Page 624 
to make the transfer within that period, the appeal shall stand dismissed.
Appellant shall pay the cost of this appeal, and all other costs shall abide the final disposition of the case.